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 6

 7                              UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                         Case No. 2:09-CR-0513 MCE
10                         Plaintiff,                  STIPULATION AND ORDER
                                                       EXONERATING APPEARANCE BOND
11           v.                                        POSTED TO SECURE MONTGOMERY
                                                       MEIGS ATWATER’S PRETRIAL
12   DALE RICHARD FRISBEY,                             RELEASE
     THOMAS GLENN COOPMAN,
13   EDWIN BLODEN TOOLE, and
     MONTGOMERY MEIGS ATWATER
14
                           Defendants.
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17
             WHEREAS, on or about December 4, 2009 a $200,000 appearance bond was posted
18
     on behalf of Montgomery Meigs Atwater in the above captioned case, which bond was
19
     secured by a Deed of Trust against the real property located at 11718 Cedar Trail, Truckee,
20

21   CA, which property is owned by M. Wainwright Fishburn, Trustee of the Trust for

22   Montgomery Meigs Atwater, created under the Joan Hamill Porter Trust Dated July 20,

23   1988.
24           WHEREAS, on May 13, 2010 a hearing was held before the Honorable Edward F.
25
     Brennan at which Defendant Montgomery Meigs Atwater was remanded into custody based
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     upon a violation of his pretrial release order;
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       Case 2:09-cr-00513-MCE Document 61 Filed 06/18/10 Page 2 of 3


 1          IT IS HEREBY STIPULATED BY AND AMONG THE UNITED STATES OF
 2   AMERICA AND DEFENDANT MONTGOMERY MEIGS ATWATER THAT: the
 3
     $200,000 secured appearance bond be exonerated in the above-captioned case and that the
 4
     Clerk of the District Court be directed to reconvey to the Trustors the deed of trust received
 5
     by the Clerk on or about December 4, 2009.
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11   Dated: June 15, 2010                        UNITED STATES OF AMERICA
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13
                                                 By:       /s/ Samuel Wong___________
14                                               SAMUEL WONG
                                                 Assistant United States Attorney
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20   Dated: June 15, 2010                        LAW OFFICES OF RICHARD PACHTER
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22
                                                 By:         /s/ Richard Pachter________
23                                                     RICHARD PACHTER
                                                 Attorney for Defendant MONTGOMERY
24                                               MEIGS ATWATER II
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       Case 2:09-cr-00513-MCE Document 61 Filed 06/18/10 Page 3 of 3


 1          BASED UPON THE FOREGOING STIPULATION OF THE PARTIES, IT IS
 2   HEREBY ORDERED THAT:
 3
            The $200,000 secured appearance bond is hereby exonerated in the above-captioned
 4
     case and that the Clerk of the District Court is directed to reconvey to the Trustors the deed
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 6   of trust received by the Clerk on or about December 4, 2009.

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     Dated: June 17, 2010
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